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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10    SAMUEL AMADOR, JR.,                    Case No. 5:20-cv-1575-JWH (MAR)
 11                          Plaintiff,
 12                     v.                    ORDER ACCEPTING FINDINGS
                                              AND RECOMMENDATION OF
 13    COUNTY OF SAN BERNARDINO,              UNITED STATES MAGISTRATE
       ET AL.,                                JUDGE
 14
                             Defendant(s).
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  1         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
  2   relevant records on file, and the Report and Recommendation of the United States
  3   Magistrate Judge. No objections have been filed. The Court accepts the findings and
  4   recommendation of the Magistrate Judge.
  5         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
  6   action without prejudice.
  7         IT IS SO ORDERED.
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  9   Dated: October 5, 2021
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                                                                                MB
 11                                         United States District Judge
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